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8    (additional counsel listed below)
9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11    In re: ZF-TRW Airbag Control Units     )   Case No.: 2:19-ml-02905-JAK-PLA
12    Products Liability Litigation          )
                                             )   MDL No. 2905
13    ALL CASES                              )
14                                           )   Judge: John A. Kronstadt
                                             )
15                                           )   JOINT STATEMENT REGARDING
16                                           )   THE JANUARY 23, 2023 MOTION
                                             )   TO DISMISS HEARING
17                                           )
18                                           )   Date: January 23, 2021
                                             )   Time: 8:30 a.m.
19                                           )   Courtroom: 10B
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            JOINT STATEMENT REGARDING JANUARY 23, 2023 HEARING
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1          Pursuant to the Court’s January 11, 2023 Order (Dkt. 627), the Parties submit this
2    Joint Statement reflecting their collective and/or respective views regarding the proposed
3    process for the January 23 motion to dismiss hearing.1
4    I.    Process for the January 25 Motion to Dismiss Hearing
5          Topics to be addressed during oral argument. The Parties have discussed which
6    issues they think it would be most helpful to address at the January 23 hearing, and how to
7    best present those issues in an efficient manner. Counsel for all Parties wish to address
8    whichever issues the Court would like them to address, and in whatever order the Court
9    believes would be appropriate.
10         Subject to further guidance from the Court, the Parties propose addressing the
11   following topics:
12         • RICO Enterprise (Argument I in Defendants’ joint motion to dismiss brief (Dkt.
13            530) and Section IV.A.1. of Plaintiffs’ opposition to Defendants’ joint motion to
14            dismiss (Dkt. 581-1));
15         • RICO Predicate Acts (Arguments raised in Defendants’ individual motion to
16            dismiss briefs and Section IV.A.2 of Plaintiffs’ opposition to Defendants’ joint
17            motion to dismiss (Dkt. 581-1) and Section II.B of Plaintiffs’ opposition to ZF’s
18            individual motion (Dkt. 588))2
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25       Defendants state that their participation in the court-ordered process of meeting and
     conferring and preparing this joint statement does not prejudice or waive any challenge to
26   this Court’s personal jurisdiction as to the claims made by any Plaintiff or class.
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       This topic would also address the parties’ disputes about the requirements of Rule 9,
     which also bears upon state law claims sounding in fraud and several theories of tolling for
28   the applicable statutes of limitations.
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1          • Personal Jurisdiction (Arguments raised in the ZF, STMicroelectronics, Inc.,
2             Honda, and Mobis Defendants’ individual motion to dismiss briefs and Plaintiffs’
3             responses thereto);3 and
4          • Plaintiffs’ Objections To Chief Magistrate Judge Abrams’ Jurisdictional
5             Discovery Order regarding ZF Friedrichshafen AG (Arguments raised in
6             Plaintiffs’ August 29, 2022 objection (Dkts. 557, 596, 602)).
7    While Defendants believe they raise other meritorious issues and arguments in their
8    motions to dismiss, and Plaintiffs believe they raise meritorious issues and argument in
9    their opposition brief, the Parties propose submitting the remaining issues raised in those
10   briefs on the papers. If, following review of this report, the Court believes argument on
11   one or more of those issues would assist the Court’s review, the Parties can be prepared to
12   address those issues as well.
13         Order of Argument and Time Allocations. The Parties agree it would be most
14   effective to hear from both sides on each of the topics identified above before moving to
15   the next topic. For example, if the Court agreed to proceed in addressing the arguments as
16   set forth above, Defendants would address the RICO enterprise issues raised in the motions
17   to dismiss, Plaintiffs would respond to those arguments, and Defendants would then offer
18   a brief rebuttal on those issues before moving on to address RICO predicate acts.
19         The Parties agree that argument time should generally be split 50-50 between the
20   Defendants collectively and the Plaintiffs collectively. For instance, if the Court plans to
21   allot approximately two and a half hours for the hearing, as it did for the previous motion
22   to dismiss hearing, each side would be allotted roughly 75 minutes of argument time to be
23   allocated by that side across any of the oral argument topics.
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25   3
       The parties have agreed that none of the Defendants will oppose Plaintiffs’ Motion for
26   Leave to File Supplemental Evidence for the January 23, 2023 Hearing on Defendant
     Honda Motor Co., Ltd.’s Jurisdictional Challenge (see Dkts. 628, 629, 630), but the Honda
27   Defendants will file an opposition disputing the sufficiency of the proffered evidence for
     jurisdiction. The parties agree that the Court may nonetheless consider the proffered
28   evidence, and that argument about the proffered evidence at the hearing is permissible.
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1          The Parties have not agreed to specific time allocations for each of the topics
2    identified above, but will take into account any guidance from the Court on the issues it
3    would like to hear argued and/or any tentative rulings the Court puts forth when
4    determining how much time to spend on each topic.
5    II.   Demonstratives
6          Pursuant to the Court’s January 11, 2023 Order (Dkt. 627), if the parties plan to use
7    any demonstrative exhibits, they will disclose those materials to the Court and other parties
8    by 7 pm PT on January 21, 2023. The parties propose providing the demonstrative exhibits
9    to the Court via email sent to the chambers email address.
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                                     #:21429


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27                                       Friedrichshafen AG, and ZF Holdings B.V.
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1                              SIGNATURE OF CERTIFICATION
2          Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories listed,
3    and on whose behalf the filing is submitted, concur in the filing’s content and have
4    authorized the filing.
5
6     DATED: January 18, 2023                    /s/ Matthew T. Regan
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7                                                US LLC, ZF Passive Safety Systems US Inc.,
8                                                ZF Automotive US Inc., ZF TRW Automotive
                                                 Holdings Corp., ZF North America, Inc., ZF
9                                                Friedrichshafen AG, and ZF Holdings B.V.
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1                                 CERTIFICATE OF SERVICE
2          I certify that on January 18, 2023, a copy of the foregoing JOINT STATEMENT
3    REGARDING JANUARY 23, 2023 HEARING was served electronically through the
4    Court’s electronic filing system upon all Parties appearing on the Court’s ECF service list.
5     DATED: January 18, 2023                 /s/ Matthew T. Regan
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7                                             ZF Automotive US Inc., ZF TRW Automotive
8                                             Holdings Corp., ZF North America, Inc., ZF
                                              Friedrichshafen AG, and ZF Holdings B.V.
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